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                        UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA

____________________________________
                                    )
HERITAGE FOUNDATION &               )
MIKE HOWELL,                        )
                                    )
      Plaintiffs                    )
                                    )
      v.                            )               Case No. 23-cv-1198 (CJN)
                                    )
U.S. DEPARTMENT OF HOMELAND         )
SECURITY                            )
                                    )
      Defendant.                    )
____________________________________)




                        DECLARATION OF SHARI SUZUKI


I, Shari Suzuki, declare as follows:

     1. I am the Freedom of Information Act (FOIA) Appeals Officer, and Chief of the

         FOIA Appeals and Policy Branch (FAP), Regulations and Rulings, Office of

         Trade (OT), U.S. Customs and Border Protection (CBP), U.S. Department of

         Homeland Security (DHS). Since April 2, 2006, I have been the official

         charged with the following responsibilities: (1) giving guidance and instruction

         to CBP personnel regarding processing FOIA requests; (2) adjudicating

         administrative appeals that concern FOIA requests; and (3) overseeing all CBP

         activities related to information disclosure under FOIA.
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 2. I am familiar with the request dated March 8, 2023, submitted by Heritage

    Foundation and Mike Howell (hereinafter Plaintiffs) for information from DHS,

    CBP, and U.S. Citizenship and Immigration Services.

 3. In furtherance of my responsibilities, I have access to records maintained in the

    ordinary course of business by CBP. All information contained herein is based

    upon information furnished to me in my official capacity, and the statements I

    make in this declaration are based on my personal knowledge, which includes

    knowledge acquired through, and agency files reviewed in, the course of my

    official duties.

 4. This declaration is filed in support of Defendant’s Motion for Summary

    Judgment, and provides background on CBP’s processing of Plaintiffs’ March

    8, 2023, request.

 5. Plaintiffs submitted a FOIA request to CBP dated March 8, 2023, seeking

    several categories of information regarding “Prince Henry Charles Albert David

    (Date of Birth 09/15/1984) of the British Royal Family aka Prince Harry aka

    His Royal Highness Prince Henry of Wales aka the Duke of Sussex”

    (hereinafter the Duke of Sussex). Plaintiffs requested expedited processing for

    the request. See Exhibit 1 to the Complaint.

 6. There was no indication in the March 8, 2023, request that the Duke of Sussex

    had authorized the release of his information to Plaintiffs.

 7. On March 9, 2023, CBP’s FOIA Division informed Plaintiffs by email that

    Plaintiffs’ request had been closed as insufficient as Plaintiffs did not provide

    written authorization from the Duke of Sussex indicating that the Duke of




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    Sussex consented to his information being released to Plaintiffs. CBP also

    stated that “[d]ue to privacy concerns, CBP cannot confirm nor deny the

    existence of records on this individual or business.” See Exhibit 10 to the

    Complaint. This closure ended the processing of Plaintiffs’ request by CBP’s

    FOIA Division.

 8. A search for responsive records was not performed by CBP in response to

    Plaintiffs’ request, as the request itself was insufficient given the failure to

    provide written authorization from the Duke of Sussex for his information to be

    released to Plaintiffs. According to DHS regulations, when records pertaining

    to a third party are requested pursuant to FOIA, CBP is permitted to “require a

    requester to supply additional information if necessary in order to verify that a

    particular individual has consented to disclosure.” See 6 CFR 5.3(a)(4).

 9. On March 15, 2023, Plaintiffs submitted an appeal letter to CBP in response to

    the March 9 letter from CBP’s FOIA Division closing the Plaintiffs’ request.

    Plaintiffs’ March 15 letter did not address expedited processing and did not

    include an authorization from the Duke of Sussex consenting to the release of

    his information to Plaintiffs. See Exhibit 11 to the Complaint.

 10. On April 5, 2023, Plaintiffs submitted an additional letter to CBP to

    “supplement the record in support of my request for expedited processing for

    my FOIA Request/Appeal CBP-FO-2023-053731.” See Exhibit 14 to the

    Complaint.

 11. On April 13, 2023, CBP contacted Plaintiffs to ask Plaintiffs to re-provide two

    appendices of information that were included with Plaintiffs’ April 5, 2023




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    letter because the appeals team was unable to open the attachments in the

    electronic FOIA system. Plaintiffs responded on April 20, 2023. See Exhibit

    16 to the Complaint.

 12. CBP had not issued a determination responding to Plaintiffs’ March 15, 2023

    appeal, supplemented by the April 5, 2023 letter, prior to the date upon which

    Plaintiffs’ filed their Complaint. On May 23, 2023, CBP issued a determination

    responding to Plaintiffs’ appeal, affirming that CBP’s FOIA Division

    appropriately closed Plaintiffs’ request as insufficient and that CBP can neither

    confirm nor deny the existence of records related to the Duke of Sussex as

    doing so would betray the privacy interests protected by Exemptions (b)(6) and

    (b)(7)(C). See Exhibit A hereto.

 13. On July 5, 2023, CBP issued an amendment to the May 23, 2023,

    determination. In that amendment, CBP acknowledged that certain entry and

    exit records exist for the Duke of Sussex and continued to neither confirm nor

    deny the existence of any other requested records regarding the Duke of Sussex,

    consistent with its explanation in the May 23, 2023 decision. The entry and exit

    records acknowledged by CBP were withheld in full pursuant to Exemptions

    (b)(6), (b)(7)(C), and (b)(7)(E). See Exhibit B.

                 SEARCH FOR RESPONSIVE RECORDS

 14. On or about June 12, 2023, CBP conducted a search of CBP’s TECS system for

    entry and exit records regarding the Duke of Sussex by using the names and

    date of birth submitted by the requester as well as passport numbers found

    during the search.




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 15. TECS is an overarching law enforcement information collection, analysis, and

    sharing environment that securely links telecommunications devices and

    personal computers to a central system and database. This environment is

    comprised of several modules designed to collect, maintain, and screen data as

    well as conduct analysis, screening, and information sharing. Additional

    information regarding what the TECS system of records contains is available in

    the TECS system of records notice (SORN) at 73 Fed. Reg. 77778 (December

    19, 2008). TECS includes border crossing information on travelers entering and

    departing the United States. Additional information regarding border crossing

    information is available at 81 Fed. Reg. 89957 (December 13, 2016).

 16. CBP located two types of entry and exit records by searching TECS: Person

    Encounter Lists and Person Encounter Detail records. A Person Encounter List

    is a list that indicates when a person has entered or exited the United States

    through U.S. federal air, land, and sea inspection sites and may include

    information regarding multiple encounters. A Person Encounter Detail record

    includes additional travel, manifest and carrier information for an individual

    encounter with a person.

 17. In the July 5, 2023 amendment to the May 23, 2023 decision, CBP withheld the

    located entry and exist records in full pursuant to Exemptions (b)(6), (b)(7)(C),

    and (b)(7)(E).

 18. CBP has not conducted a search for any other requested records, including for

    any other CBP records addressed in Section 2 and Section 3 of Plaintiffs’




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    request not addressed above, regarding the Duke of Sussex, as CBP neither

    confirms nor denies the existence of any other records.

JUSTIFICATION FOR WITHHOLDING INFORMATION UNDER FOIA

 19. The justifications described in this declaration support CBP’s withholdings of

    the records requested by Plaintiffs.

                               Exemption (b)(6)

 20. Section 552(b)(6) of Title 5 of the U.S. Code exempts from disclosure certain

    records and information “the disclosure of which would constitute a clearly

    unwarranted invasion of personal privacy.” This exemption requires balancing

    the public’s right to disclosure against an individual’s right to privacy, with the

    public’s interest in the disclosure of the information being limited to

    information which would shed light on CBP’s performance of its mission to

    secure the border of the United States. In this case, the information CBP

    withheld pursuant to Exemption (b)(6) is exempted from disclosure because the

    privacy interests in that information outweigh the public interest in its

    disclosure.

 21. Exemption (b)(6) was applied to the entry and exit records to protect personal

    information of the Duke of Sussex (the Duke). The Duke’s personal information

    includes, but is not limited to, the type of document the Duke used to travel, that

    document’s number, document country, the date and time the Duke arrived in or

    left the United States, the duration of his lawful admission, the port at which he

    arrived or from which he left, and his class of admission. Release of the Duke’s

    personal information to a third party without the Duke’s authorization would




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    constitute a clearly unwarranted invasion of privacy. In making this

    determination, CBP weighed the Duke’s privacy interests against the public

    interest in disclosure. As stated in CBP’s July 5, 2023 amendment to the May

    23, 2023 decision, the general allegations made regarding the existence of

    public interest in the Duke’s personal information do not outweigh the Duke’s

    privacy interests, as “one person’s CBP entry and exit records, even a famous

    person’s, is insufficient evidence to undermine public confidence in CBP and its

    application of equal justice under the law.” See Exhibit B.

 22. Exemption (b)(6) was also applied to the names and identifying information of

    CBP employees. Government employees have a protectable privacy interest in

    their identities that would be threatened by disclosure. The release of this

    information could subject government employees to unwarranted harassment

    and publicity, which could limit their effectiveness in handling their respective

    functions and duties. Additionally, release of this information would not shed

    light on the actions of CBP and there is no public interest in the disclosure of

    this information. Accordingly, the government employees’ right to privacy

    outweighs whatever public interest, if any, might exist in knowing the

    information.

                               Exemption (b)(7)

 23. Section 552(b)(7) of Title 5 of the U.S. Code exempts from disclosure certain

    records or information that are “compiled for law enforcement purposes.” The

    records at issue in this case were compiled for law enforcement purposes in that




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    the information is created and used by CBP in its law enforcement mission to

    secure the border of the United States.

                             Exemption (b)(7)(C)

 24. Section 552(b)(7)(C) of Title 5 of the U.S. Code exempts from disclosure law

    enforcement records or information that “could reasonably be expected to

    constitute an unwarranted invasion of personal privacy.” This exemption

    extends to CBP as a law enforcement agency. Exemption (b)(7)(C) is designed

    to protect, among other things, law enforcement personnel from harassment and

    annoyance in the conduct of their official duties and in their private lives, which

    could conceivably result from the public disclosure of their identity. This

    exemption requires that the privacy interest in the information of an individual

    in the document be balanced against any public interest in disclosure of that

    information, with the public’s interest in the disclosure of the information being

    limited to information which would shed light on CBP’s performance of its

    mission to secure the border of the United States.

 25. Exemption (b)(7)(C) has been applied to the same records and types of

    information to which Exemption (b)(6) was applied, when the information was

    compiled for law enforcement purposes and could reasonably be expected to

    constitute an unwarranted invasion of personal privacy.

 26. Exemption (b)(7)(C) was applied to protect the personal information of the

    Duke of Sussex and the names and identifying information of CBP employees

    responsible for creating the records in question and conducting the law




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    enforcement activities for the same reasons noted for applying Exemption (b)(6)

    to the same information.

 27. In addition, with respect to the withheld identifying information of CBP

    employees, Exemption (b)(7)(C) was applied to protect these individuals from

    unwanted contact, annoyance, or harassment in their personal and/or private

    lives, as well as to prevent the release of this information from prejudicing the

    effectiveness of personnel in executing their law enforcement functions. The

    identification of an individual in association with the performance of their duties

    at a law enforcement agency creates a safety threat. For this reason, the Office

    of Personnel Management (OPM) designated CBP a “Security Agency”

    exempting all CBP employees, not just front-line law enforcement, from OPM’s

    salary information disclosure policy. See https://www.opm.gov/policy-data-

    oversight/data-analysis-documentation/data-policy-guidance/data-

    standards/data-release-policy-august-2020.pdf. As OPM recognized, disclosing

    a non-public facing CBP employee’s name (and related information), absent a

    compelling public interest to do so, risks unnecessarily exposing that individual

    employee to potential safety threats. Release of this specific information would

    not shed light on the actions of CBP, and the privacy interest in this information

    outweighs any conceivable public interest in the disclosure of the information.

                               Exemption (b)(7)(E)

 28. Section 552(b)(7)(E) of Title 5 of the U.S. Code exempts from disclosure law

    enforcement records or information that “would disclose techniques and

    procedures for law enforcement investigations or prosecutions, or would




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    disclose guidelines for law enforcement investigations or prosecutions if such

    disclosure could reasonably be expected to risk circumvention of the law.”

 29. The effectiveness of CBP’s mission is dependent, to a large extent, on the use of

    sensitive investigative techniques and methods that are not known to the general

    public. These law enforcement techniques and procedures are critical tools used

    by CBP officers to efficiently and effectively carry out CBP’s mission to secure

    the border and to prevent threats, including terrorists, their weapons, and other

    dangerous items, from entering the United States, and to enforce customs,

    immigration, agriculture, and other federal laws at the border. The disclosure of

    these techniques and methods would seriously compromise CBP’s ability to

    perform its law enforcement mission at the border.

 30. The fields of data withheld pursuant to Exemption (b)(7)(E) in the Person

    Encounter Lists and Person Encounter Detail records, which uniformly appear

    in such records for all travelers, are routinely withheld by CBP, as they contain

    otherwise unknown, specific law enforcement techniques, procedures, and

    guidelines followed by CBP personnel when carrying out CBP’s law

    enforcement mandate to secure the nation’s borders. This information has been

    withheld because it indicates what circumstances might trigger additional CBP

    scrutiny while processing international travelers for entry into or departure from

    the country, and provides instructions to CBP personnel related to which law

    enforcement techniques ought to be practiced in those circumstances.

    Disclosure of this information would risk circumvention of the law, as

    disclosure of the law enforcement procedures and techniques would decrease




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    their effectiveness by enabling illicit actors to alter their patterns of conduct,

    adopt new methods of operation, or take other countermeasures, thereby

    undermining CBP’s law enforcement efforts to secure the borders of the United

    States.

                   “GLOMAR” RESPONSE:
      DISCLOSURE OF THE EXISTENCE OR NON-EXISTENCE
        OF RESPONSIVE RECORDS WOULD CAUSE HARM
             UNDER FOIA EXEMPTIONS 6 AND 7(C)


 31. As noted above and as explained in CBP’s May 23, 2023 decision and the July

    5, 2023 amendment, with the exception of the withheld entry and exit records

    addressed above, CBP neither confirms nor denies the existence of any other

    requested records regarding the Duke of Sussex as the Duke has not consented

    to disclosure of his records to Plaintiffs and Plaintiffs have not provided

    sufficient public interest to outweigh the Duke’s right to privacy concerning any

    other potential CBP records about him that may or may not exist.

 32. CBP can neither confirm nor deny the existence of the remaining requested

    records as doing so would betray the privacy interests protected by Exemptions

    (b)(6) and (b)(7)(C) and would itself cause harm. Public figures do not forfeit

    all privacy rights by virtue of being public figures, and the general public

    interest claimed by Plaintiffs in their assertions regarding the Duke’s admission

    to the United States are insufficient to outweigh the Duke’s privacy interests in

    any additional CBP records about him that may or may not exist.

 33. CBP is a law enforcement agency charged with the statutory responsibility for

    safeguarding America’s borders and facilitating legitimate trade and travel. CBP




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    comprises over 60,000 employees charged with enforcing over 400 federal

    statutes on behalf of over 40 different federal agencies. CBP’s mission is to

    protect the borders of the United States against terrorists and instruments of

    terror, enforce the customs and immigration laws of the United States, and

    foster our nation’s economy by facilitating lawful international trade and travel.

    Plaintiff seeks records for the Duke of Sussex held in CBP systems of records.

    Therefore, CBP can state that the additional requested records, should any exist,

    would have, in part, been collected and maintained by the CBP as part of its law

    enforcement mission such that Exemption 7 may be applied to CBP’s records.

 34. As explained previously, FOIA Exemptions 6 and 7(C) exempt from disclosure

    records related to third parties if release of the information could be expected to

    constitute an unwarranted invasion of personal privacy.

 35. A Glomar response is warranted pursuant to 5 U.S.C. § 552(b)(6) and (b)(7)(C)

    when members of the public are likely to draw adverse inferences from the mere

    fact that an individual is mentioned in the files of a law enforcement agency

    such as CBP, as this may cast the individual in an unfavorable or negative light.

    Moreover, release of information about third parties could cause unsolicited and

    unnecessary attention or harassment to be focused on them. As the law

    enforcement agency charged with protecting the U.S. border, CBP maintains

    sensitive personal information regarding the individuals encountered by CBP,

    and even acknowledging the existence of records related to third parties, such as

    acknowledging the type or number of records that CBP maintains, could lead to

    adverse inferences and harassment. The individuals addressed in records




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    maintained by CBP as a law enforcement agency have strong privacy interests

    in not having their personal information disclosed.

 36. When records of third parties are requested from CBP pursuant to FOIA, CBP

    balances the substantial privacy interests of third parties against the public

    interest in disclosure and evaluates on a case-by-case basis whether there is

    significant public interest in disclosure of the requested records sufficient to

    outweigh those substantial privacy interests. The relevant public interest under

    FOIA is whether the requested records, if they were to exist, shed light on the

    activities of CBP and would open agency action to the light of public scrutiny.

    If a significant public interest outweighs the substantial privacy interests of the

    subject(s) of the request, or if certain information about a third party has already

    been officially acknowledged, CBP would typically acknowledge the existence

    of responsive files.

 37. CBP carefully evaluated Plaintiffs’ FOIA request and determined that the

    existence of CBP entry and exit records could be acknowledged since it has

    been widely publicly acknowledged that the Duke of Sussex has traveled to and

    from the United States such that acknowledging the existence of the entry and

    exit records does not invade his privacy interests. There are also no adverse

    inferences to be drawn regarding the Duke of Sussex by merely acknowledging

    the existence of the entry and exit records given the broad public

    acknowledgment that the Duke of Sussex has traveled to and from the United

    States. However, the remainder of the FOIA request is so narrowly targeted that

    by its very terms it is limited to privacy-sensitive information pertaining to the




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    Duke of Sussex. Acknowledging and withholding or otherwise redacting any

    additional responsive CBP records, to the extent they exist, would not be

    adequate to protect the personal privacy interests at risk and, thus, CBP invoked

    the Glomar response. Any other response would acknowledge the existence of

    records and reveal, for example, whether the Duke of Sussex applied for

    particular immigration benefits, was the subject of any adverse actions, or

    requested a waiver under the Immigration and Nationality Act. Immigration

    status implicates significant privacy interests. Confirmation of any adverse

    action or immigration applications would necessarily reveal the precise

    information that Exemptions 6 and 7(C) shield. The minimal amount of

    information of interest to the public revealed by the treatment of one individual

    does not shed enough light on CBP’s conduct to overcome the Duke of Sussex’s

    privacy interest in his encounters with CBP or in any information in CBP’s

    records related to his immigration status.

 38. Given that Plaintiffs failed to provide a privacy waiver appropriately signed by

    the Duke of Sussex, CBP refused to acknowledge the existence of records

    responsive to Plaintiffs’ request for records, beyond entry and exit records,

    concerning the Duke of Sussex. CBP determined that confirming or denying the

    existence or nonexistence of any other CBP law enforcement records

    concerning the Duke of Sussex, including those regarding his processing by

    CBP or immigration status, would constitute a clearly unwarranted invasion of

    his personal privacy pursuant to FOIA Exemption (b)(6) and could reasonably




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     be expected to constitute an unwarranted invasion of his personal privacy

     pursuant to FOIA Exemption (b)(7)(C).

                                  SEGREGABILITY

 39. All responsive records that were identified in CBP’s search for records that may

     be acknowledged in response to Plaintiffs’ FOIA request have been

     appropriately withheld in full as the information contained therein is not

     reasonably segregable because it is so intertwined with protected material that

     segregation is not possible or its release would have revealed the underlying

     protected material. CBP personnel have reviewed the documents determined to

     be responsive, line-by-line, to identify information exempt from disclosure or

     for which a discretionary waiver of exemption could apply, and no reasonably

     segregable portions of the relevant records have been located. In my

     determination, any further release of the exempted materials could reasonably

     lead to the identification of the individuals or other items that are properly

     protected by the exemptions asserted.

Pursuant to 28 U.S.C. § 1746, I hereby affirm under penalty of perjury that the

information provided is true and correct to the best of my information, knowledge,

and belief.

Signed this __24th__ day of August, 2023.




                                  ___________________________________
                                  Shari Suzuki, Branch Chief
                                  FOIA Appeals and Policy
                                  Office of Trade, Regulations and Rulings



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                          U.S. Customs and Border Protection
                          U.S. Department of Homeland Security




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